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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                       :
                                                   :
         v.                                        :       Case No. 1:21-cr-105 (JMC)
                                                   :
    HENRY MUNTZER,                                 :
                                                   :
         Defendant.                                :


                 UNITED STATES’ MOTION IN LIMINE TO PRECLUDE
                 IMPROPER DEFENSE ARGUMENTS AND EVIDENCE

        The United States of America moves in limine, pursuant to Fed. R. Evid. 401, 403, and

611(b), to preclude the defendant from introducing evidence or making arguments:

        (1) That his conduct was authorized by former President Trump or other officers or
            officials;

        (2) That any inaction by law enforcement permitted his conduct;

        (3) That the First Amendment permitted his conduct;

        (4) Encouraging jury nullification;

        (5) That he defended himself or others on January 6, 2021; and/or

        (6) On his prior good acts or culpability relative to other actors on January 6, 2021.

I.      LEGAL BACKGROUND

        Motions in limine are “designed to narrow the evidentiary issues for trial and to eliminate

unnecessary trial interruptions.” Graves v. District of Columbia, 850 F.Supp.2d 6, 10 (D.D.C.

2011) (quoting Bradley v. Pittsburgh Bd. of Educ., 913 F.2d 1064, 1070 (3d Cir. 1990)). The

government presents the above six issues to the Court to prepare this case for an efficient trial. 1




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 The government previously filed two other motions in limine that remain pending before the
Court. See ECF Nos. 47-48.
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       It is well-established that a district court has the discretion to limit a criminal defendant’s

presentation of evidence and cross-examination of witnesses. See Alford v. United States, 282 U.S.

687 (1931) (“The extent of cross-examination [of a witness] with respect to an appropriate subject

of inquiry is within the sound discretion of the trial court.”); United States v. Whitmore, 359 F.3d

609, 615-16 (D.C. Cir. 2004) (“The district court . . . has considerable discretion to place

reasonable limits on a criminal defendant’s presentation of evidence and cross-examination of

government witnesses.”). A court has the discretion to prohibit cross-examination that goes beyond

matters testified to on direct examination. Fed. R. Evid. 611(b). This is particularly so when the

information at issue is of a sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191,

1216-17 (7th Cir. 1985) (upholding district court’s decision to prohibit cross-examination of agent

about sensitive information about which the agent did not testify on direct examination and that

did not pertain to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d

788 (7th Cir. 2016). Other permissible reasons for limiting cross-examination include preventing

harassment, prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant

questioning. Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       While limiting the defendant’s opportunity for cross-examination may implicate the

constitutional right to confront witnesses, the Confrontation Clause only guarantees “an

opportunity for effective cross-examination, not cross-examination that is effective in whatever

way, and to whatever extent, the defense might wish.” Delaware v. Fensterer, 474 U.S. 15, 20

(1985). Even evidence that may be relevant to an affirmative defense should be excluded until a

defendant sufficiently establishes that defense through affirmative evidence presented during his

or her own case-in-chief. See United States v. Lin, 101 F.3d 760, 768 (D.C. Cir. 1996)

(acknowledging trial court has discretion to limit cross-examination on prejudicial matters without




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reasonable grounding in fact); United States v. Sampol, 636 F.2d 621, 663-64 (D.C. Cir. 1980)

(holding that trial court properly limited cross-examination of alleged CIA murder scheme until

defense put forth sufficient evidence of the affirmative defense in its case-in-chief); United States

v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court properly excluded cross

examination of government’s witness with response to matter only related to an affirmative

defense and not elicited through direct examination).

       Preventing the defendant from exploring the topics identified by the government will not

infringe his Confrontation Clause right because, as explained below, such topics have little

probative value and the defendant has more direct ways of making his case.

II.    ARGUMENT

       A.      Topic #1: the Court Should Preclude the Defendant from Arguing
               Entrapment by Estoppel or Making a Public Authorities Defense

       The Court should prohibit the defendant from making arguments, introducing irrelevant

evidence, or suggesting that former President Trump or other officials gave the defendant

permission to attack the U.S. Capitol in what are commonly known as “entrapment-by-estoppel”

or “public authority” defenses.

       As courts in this district have explained, the entrapment-by-estoppel and public authority

defenses are closely related and derive from a constitutional prohibition against “convicting a

citizen for exercising a privilege which the State had clearly told him was available to him.” United

States v. Sheppard, No. 21-cr-203, 2022 WL 17978837, at *7 (D.D.C. Dec. 28, 2022) (J. Bates)

(quoting Cox v. Louisiana, 379 U.S. 559, 571 (1965)). Both defenses are narrow ones, however,

and a defendant may succeed on them only if he meets rigorous evidentiary requirements. See

United States v. Alvarado, 808 F.3d 474, 484-85 (11th Cir. 2015) (“The public authority defense

is narrowly defined, however, and a defendant will not be allowed to assert the defense, or to




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demand that the jury be instructed on it, unless he meets certain evidentiary prerequisites.”); United

States v. Baker, 438 F.3d 749, 755 (7th Cir. 2006) (“The [entrapment-by-estoppel] defense is a

narrow one.”). In particular, to succeed on an entrapment-by-estoppel claim, a defendant must

prove:

         (1) that a government agent actively misled him about the state of the law defining
         the offense;

         (2) that the government agent was responsible for interpreting, administering, or
         enforcing the law defining the offense;

         (3) that the defendant actually relied on the agent’s misleading pronouncement in
         committing the offense; and

         (4) that the defendant’s reliance was reasonable in light of the identity of the agent,
         the point of law misrepresented, and the substance of the misrepresentation.

United States v. Chrestman, 525 F. Supp. 3d 14, 31 (D.D.C. 2021) (C.J. Howell) (quoting Cox,

906 F.3d at 1191). This district has articulated a similar four-part analysis for the public authority

defense:

         [A]n individual (1) reasonably, on the basis of an objective standard, (2) relies on
         a (3) conclusion or statement of law (4) issued by an official charged with
         interpretation, administration, and/or enforcement responsibilities in the relevant
         legal field.

Sheppard, 2022 WL 17978837 at *8 (quoting United States v. Barker, 546 F.2d 940, 955 (D.C.

Cir. 1976). Common between these standards is, among other things, that a government official

must offer a “state” or “statement” of the law.

         The defendant has not, and cannot, argue that, in urging his supporters towards the Capitol,

then-President Trump made a “statement” of law. By now, several courts in this district have

considered various defendants’ arguments that the former president’s words immunized their

actions on January 6. To the government’s knowledge, all these arguments have failed. See, e.g.,

Sheppard, 2022 WL 17978837 at *9 (prohibiting defendant from seeking discovery or presenting




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evidence at trial on entrapment-by-estoppel or public authority defenses); Order at 2, ECF No. 39,

United States v. Thompson, No. 21-cr-161 (D.D.C. Mar. 23, 2022) (J. Walton) (excluding evidence

of former President Trump’s statements for all purposes as unduly prejudicial under Fed. R. Evid.

403); United States v. Grider, No. 21-cr-022, 2022 WL 3030974, at *4 (D.D.C. Aug. 1, 2022) (J.

Kollar-Kotelly) (declining to instruct jury on defense of entrapment by estoppel); Chrestman, 525

F.Supp.3d at 33 (noting that an entrapment-by-estoppel defense is “highly unlikely” to succeed

and declining to consider it as weighing in favor of granting pre-trial release).

       Defendants’ efforts to assert an entrapment-by-estoppel defense have uniformly failed,

given that, as Judge Bates observed, the defense is available “only when the official’s statements

or conduct state or clearly imply that the defendant's actions are lawful.” Sheppard, 2022 WL

17978837 at *9. The key challenge for the defendant is that, as this Court has observed, “President

Trump neither stated nor implied that entering the restricted area of the Capitol grounds and the

Capitol building or impeding the certification of the electoral vote was lawful.” Id. Rather:

       [Trump’s] speech simply suggests that it would be an act of “boldness” to “stop the
       steal.” Thus, allowing [the defendant’s] reliance on these words would be an
       instance of allowing “following orders, without more, [to] transform an illegal act
       into a legal one”—something the D.C. Circuit has unequivocally declined to do.

Id. (quoting United States v. North, 910 F.2d 843, 879 (D.C. Cir. 1990) (per curiam), opinion

withdrawn and superseded in part on reh’g, 920 F.2d 940 (D.C. Cir. 1990)).

       Similarly, Judge Kollar-Kotelly, in considering an entrapment-by-estoppel argument,

noted that “former President Trump’s statements did not in any way address the legality of the

actions he urged his supporters to take. He did not, for example, assure them that marching along

Pennsylvania was ‘lawful’ or that occupying Capitol grounds was ‘permissible.’” Grider, 2022

WL 3030974 at *3. In short, then-President Trump did not “actively misle[a]d [the defendant]




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about the state of the law,” because Trump did not make any statement about the law at all. Id. at

2 (quoting Chrestman, 525 F.Supp.3d at 14).

       Yet, even if then-President Trump had made a statement about the law, allowing those

statements to immunize the defendant’s conduct would raise serious constitutional concerns. As

Judge Howell observed about another entrapment-by-estoppel defense by a similarly situated

defendant, “No American President holds the power to sanction unlawful actions because this

would make a farce of the rule of law.” Chrestman, 525 F.Supp.3d at 32:

       [N]o President may unilaterally abrogate criminal laws duly enacted by Congress
       as they apply to a subgroup of his most vehement supporters. Accepting that
       premise, even for the limited purpose of immunizing defendant and others similarly
       situated from criminal liability, would require this Court to accept that the President
       may prospectively shield whomever he pleases from prosecution simply by
       advising them that their conduct is lawful, in dereliction of his constitutional
       obligation to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, §
       3. That proposition is beyond the constitutional pale, and thus beyond the lawful
       powers of the President.

       Even more troubling than the implication that the President can waive statutory law
       is the suggestion that the President can sanction conduct that strikes at the very
       heart of the Constitution and thus immunize from criminal liability those who seek
       to destabilize or even topple the constitutional order. In addition to his obligation
       to faithfully execute the laws of the United States, including the Constitution, the
       President takes an oath to “preserve, protect and defend the Constitution.” U.S.
       Const. art. II, § 1, cl. 8. He cannot, in keeping with his constitutional function and
       his responsibilities under Article II, lawfully permit actions that directly undermine
       the Constitution.

Id. at 32–33 (D.D.C. 2021). In other words, to allow an entrapment-by-estoppel or public authority

defense based on the President’s false statements of law would implicate both the Take Care clause

and the presidential oath of office, and more fundamentally question the nature of the rule of law

in America.

       Although Chrestman involved an argument that former President Trump gave the

defendant permission to enter the Capitol grounds, the reasoning in Chrestman applies equally to

any argument that other officials or law enforcement officers gave permission to the defendant



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to do the same. Just as a President cannot unilaterally repeal laws, no other officials or members

of law enforcement could use their authority to allow individuals to enter the Capitol building

during a violent riot. As Judge Howell observed, “the logic in Chrestman that a U.S. President

cannot unilaterally abrogate statutory law applies with equal force to government actors in less

powerful offices, such as law enforcement officers protecting the U.S. Capitol Building.”

Memorandum and Order, United States v. Williams, No. 21-cr-377, at *2 (D.D.C. June 8, 2022).

       Even if the defendant in this case could establish that an official or officer told him that it

was lawful to enter the Capitol building or grounds, or allowed him to do so, the defendant’s

reliance on any such statement would not be reasonable considering the “obvious police

barricades, police lines, and police orders restricting entry at the Capitol.” Chrestman, 525

F.Supp.3d at 32. Moreover, the defendant’s actions here contradict any argument that he relied

on any such statement by law enforcement when he decided to unlawfully enter the Capitol

grounds and the Capitol building itself. Indeed, video evidence and the defendant’s own

statements show that he received ample notice that his presence on the Capitol grounds was

unlawful and unwelcome. Indeed, he described himself as having “Stormed the Capitol” and

“pushed through” police despite being pepper sprayed “a lot.” For example, on January 6, 2021,

the defendant posted a video to Facebook showing riot gear-clad police officers standing on the

Lower West Terrace with the caption “Here’s the video where we storm the capitol and got above

the guards. Then entered the capital [sic] in DC.” The defendant posted another video, taken from

inside the Capitol building, that he captioned in part as follows:

       Stormed the Capitol in Washington DC we were able to push through the capital
       police and enter several Chambers. I did not see anyone get hurt other than tear gas
       and pepper spray and I got sprayed a lot.

In addition, Capitol building CCTV footage captured the defendant physically struggling with at

least one uniformed officer in the Rotunda and the defendant gave an interview in which he



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bragged that he went into a room where “the guard was pushing everyone” so “we pushed them

back. We pushed them back further.” It is thus clear from the defendant’s conduct and his own

statements that he was well aware that law enforcement opposed his and the mob’s actions.

Accordingly, the defendant should be prohibited from arguing—speciously and contrary to law—

that his conduct was legal because someone allegedly told him it was.

        Finally, “entrapment by estoppel is a defense rather than an evidentiary objection and,

accordingly, should have been raised prior to trial.” United States v. Colon Ledee, 967 F. Supp. 2d

516, 520 (D.P.R. 2013). Having raised no such defense in pre-trial filings, and for the reasons

discussed above, the defendant should be precluded from raising these defenses at trial.

        B.      Topic #2: the Court Should Preclude the Defendant from Arguing that
                Alleged Inaction by Law Enforcement Officers Made His Conduct on
                January 6, 2021 Legal

        In addition to prohibiting arguments that any officials or officers permitted the defendant

to enter the Capitol grounds or building, the Court should bar the defendant from arguing that

any failure of law enforcement to act rendered the defendant’s conduct legal. The same reasoning

that applied in Chrestman again applies here. That is, like the president, a law enforcement officer

cannot “unilaterally abrogate criminal laws duly enacted by Congress” through his or her

purported inaction. Chrestman, 525 F.Supp.3d at 33. An officer cannot shield an individual from

liability for an illegal act by failing to enforce the law, nor can an officer ratify unlawful conduct

by failing to prevent it.

        “Settled caselaw makes clear that law officer inaction—whatever the reason for the

inaction—cannot sanction unlawful conduct.” Williams, No. 21-cr-377 at *3; see also Garcia v.

Does, 779 F.3d 84, 95 (2d Cir. 2015) (en banc) (entrapment-by-estoppel defense rejected after

defendants argued that their prosecuted conduct had been implicitly approved by the police but

could not show that it was “affirmatively authorized” by the police). The same principles apply



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here. The defendant should be prohibited from arguing that his conduct was lawful because law

enforcement officers allegedly failed to prevent it or respond directly to it when it occurred.

        C.      Topic #3: the Court Should Preclude the Defendant from Arguing that His
                Conduct Was Protected by the First Amendment

        The Court should preclude the defendant from arguing or eliciting evidence that on January

6, 2021, he enjoyed a First Amendment right to protest inside the restricted area around the Capitol

or inside the Capitol building itself.

        At trial, the government will show that the Capitol grounds and building were restricted on

January 6 within the meaning of 18 U.S.C. § 1752(c)(1)(B) (defining a “restricted building or

grounds” as “any posted, cordoned off, or otherwise restricted area . . . of a building or grounds

where the President or other person protected by the Secret Service is or will be temporarily

visiting”). There is no First Amendment right to protest in a restricted area. The government can—

and on January 6, did—restrict an area that is a traditional public forum for legitimate government

ends. Courts in this district have repeatedly affirmed that the government may close a public forum

in similar circumstances. See, e.g., Mahoney v. United States Marshals Service, 454 F. Supp. 2d

21, 32-33 (D.D.C. 2006) (U.S. Marshals Service did not violate the First Amendment by restricting

access to a sidewalk in front of St. Matthew’s Cathedral for Red Mass, even though the sidewalk

was a traditional public forum). Unsurprisingly, other courts have similarly upheld temporary

closures of traditional public forums for safety reasons. See Menotti v. City of Seattle, 409 F.3d

1113, 1129-30 (9th Cir. 2005) (finding that an emergency order closing a core area of downtown

Seattle to protests during World Trade Organization conference was constitutional in part because

its purpose was to maintain and restore civic order); Marcavage v. City of New York, 489 F.3d 98,

105 (2d Cir. 2012) (“[T]here can be no doubting the substantial government interest in the

maintenance of security at political conventions”); Citizens for Peace in Space v. City of Colorado




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Springs, 477 F.3d 1212, 1222 (10th Cir. 2007) (“In this case, there can be no doubt that the City’s

interest in providing security to a gathering of defense officials is of the highest order”); Bl(a)ck

Tea Society v. City of Boston, 378 F.3d 8, 11 (1st Cir. 2004) (upholding a street-closure plan around

the Democratic National Convention that made it nearly impossible for groups wishing to

demonstrate to do so within sight and sound of the delegates).

         On January 6, 2021, the USCP and the Secret Service coordinated to establish a restricted

perimeter around the Capitol building that encompassed a portion of the Capitol grounds. Although

the defendant may attempt to suggest otherwise, no member of the public, including the defendant,

had a First Amendment right to engage in protest or speech within that restricted area. The Court

should preclude the defendant from eliciting testimony to the contrary or arguing that he was

engaged in protected speech or pursuing his “right” to protest when he was on the Capitol grounds.

         D.     Topic #4: the Court Should Preclude the Defendant from Encouraging Jury
                Nullification

         The Court should prohibit the defendant from arguing or introducing evidence that

encourages jury nullification, whether during voir dire or at trial. As the D.C. Circuit has made

clear,

         A jury has no more “right” to find a “guilty” defendant “not guilty” than it has to
         find a “not guilty” defendant “guilty,” and the fact that the former cannot be
         corrected by a court, while the latter can be, does not create a right out of the power
         to misapply the law. Such verdicts are lawless, a denial of due process and
         constitute an exercise of erroneously seized power.

United States v. Washington, 705 F.2d 489, 494 (D.C. Cir. 1983). Evidence that only serves to

support a jury nullification argument or verdict has no relevance to guilt or innocence. See United

States v. Gorham, 523 F.2d 1088, 1097-98 (D.C. Cir. 1975); see also United States v. Funches,

135 F.3d 1405, 1409 (11th Cir. 1998) (“No reversible error is committed when evidence, otherwise




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inadmissible under Rule 402 of the Federal Rules of Evidence, is excluded, even if the evidence

might have encouraged the jury to disregard the law and to acquit the defendant”).

       The government has identified the following subject areas that are not relevant to the issues

before the jury and that could serve as an improper invitation for the jury—or this Court—to nullify

its fact-finding and conclusions under the law. The Court should preclude any reference to these

issues, or similar arguments, either during voir dire, opening statement, questioning of witnesses,

the defense case-in-chief, or closing.

               1.      Selective Prosecution

       The defendant may claim that he has been unfairly singled out for prosecution because of

his political views. But a “selective-prosecution claim is not a defense on the merits to the criminal

charge itself, but an independent assertion that the prosecutor has brought the charge for reasons

forbidden by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463 (1996). Regardless

of whether alleged discrimination based on political views is a proper basis for challenging the

indictment—which the defendant has not claimed to date—it has no place in a trial. See United

States v. King, No. 08-cr-002, 2009 WL 1045885, at *3 (D. Idaho Apr. 17, 2009) (“The Court will

therefore exclude any evidence or argument as to selective prosecution at trial.”); United States v.

Kott, No. 3:07-cr-056, 2007 WL 2670028, at *1 (D. Alaska Sept. 10, 2007) (precluding the

defendant from educing evidence to support a selective prosecution claim at trial). Rather, such

an argument could serve as an improper invitation for the jury or Court to nullify its fact-finding

and conclusions under the law; the defendant should therefore be precluded from making it.

               2.      Statements Regarding the Alleged Offenses’ Punishment or Collateral
                       Consequences of Conviction

       The defendant likely faces a substantial prison sentence if he is found guilty in this case,

and he should not be permitted to seek to arouse the Court or jury’s sympathy by introducing any




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evidence of or attempting to argue about the hardships of prison or the potential effect of

incarceration on his family or employment prospects.

        It is settled law that the jury should not consider such penalties in reaching its verdict. See,

e.g., United States v. Reed, 726 F.2d 570, 579 (9th Cir. 1984) (a defendant’s possible sentence

“should never be considered by the jury in any way in arriving at an impartial verdict as to the

guilt or innocence of the accused.”); Rogers v. United States, 422 U.S. 35, 40 (1975) (jury should

have been admonished that it “had no sentencing function and should reach its verdict without

regard to what sentence might be imposed”). Indeed, courts in this district often give a jury

instruction stating exactly that:

        The question of possible punishment of the defendant in the event a conviction is
        not a concern of yours and should not enter into or influence your deliberations in
        any way. The duty of imposing sentence in the event of a conviction rests
        exclusively with me. Your verdict should be based solely on the evidence in this
        case, and you should not consider the matter of punishment at all.

D.C. Redbook 2.505. Thus, the above-mentioned issues are irrelevant, and any reference to them

would invite jury nullification. See United States v. Bell, 506 F.2d 207, 226 (D.C. Cir. 1974)

(“evidence which has the effect of inspiring sympathy for the defendant or for the victim . . . is

prejudicial and inadmissible when otherwise irrelevant”) (internal citation omitted); United States

v. White, 225 F. Supp. 514, 519 (D.D.C 1963) (“The proffered testimony (which was clearly

designed solely to arouse sympathy for defendant) was thus properly excluded.”). As such, they

should be excluded.

        E.      Topic #5: the Court Should Preclude the Defendant from Arguing Self-
                Defense or Defense of Others

        The defendant has not formally raised claims of self-defense, but if he does, such

arguments should be precluded. To establish a prima facie case of self-defense, the defendant

must make an offer of proof of “(1) a reasonable belief that the use of force was necessary to defend




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himself or another against the immediate use of unlawful force and (2) the use of no more force

than was reasonably necessary in the circumstances.” United States v. Biggs, 441 F.3d 1069, 1071

(9th Cir. 2006). “If a defendant cannot proffer legally sufficient evidence of each element of an

affirmative defense, then he is not entitled to present evidence in support of that defense at trial.”

United States v. Cramer, 532 Fed. Appx. 789, 791 (9th Cir. 2013) (citing United States v. Bailey,

444 U.S. 394, 415 (1980)).

       The defendant is charged with various offenses for trespassing onto the Capitol grounds;

interfering with law enforcement officers trying to contain and quell the civil disorder; forcibly

assaulting, resisting, or impeding those officers; acting disorderly or disruptive; and unlawfully

entering the Capitol building itself. None of these actions can be explained by a desire to defend

himself or others. Allowing such defenses would “confuse[e] the issues, mislead[] the jury” and

result in “undue delay” and “wast[ed] time.” Fed. R. Evid. 403. As such these arguments ought to

be excluded.

       F.      Topic #6: the Court Should Preclude the Defendant from Introducing Evidence
               of His Own Good Conduct or Comparing His Culpability Relative to Other
               Rioters

       The defendant engaged in efforts to impede law enforcement officers on January 6, 2021,

such as by using force to resist or impede officers in the Rotunda from blocking rioters from

penetrating the building further and/or clearing the area. He is charged accordingly. He did not,

however, injure anyone, steal property, or vandalize anything. The Court should preclude any

argument that the defendant’s lack of additional criminal actions on January 6, 2021 or allegedly

helpful acts negate the criminal conduct for which he is charged. See United States v. Camejo,

929 F.2d 610, 612-13 (11th Cir. 1991) (a witness’s proffered testimony that a defendant declined

to participate in a separate, contemporaneous narcotics conspiracy was an inadmissible

“attempt to portray [the defendant] as a good character through the use of prior ‘good acts’”).



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Indeed, such evidence would not be particularly probative of whether the defendant is guilty of

the offenses with which he is charged; many Capitol Riot defendants acted both violently and

helpfully towards law enforcement at different times on January 6, 2021. See, e.g., Government

Sentencing Submission, United States v. Fairlamb, No. 21-cr-120 (D.D.C. Nov. 3, 2021), ECF

No. 50 at 14-19 (defendant who offered police officers water and offered to assist them in leaving

the area subsequently shoved and punched another officer).

       Evidence of past “good acts” by a defendant is generally not probative unless a defendant

is alleged to have always or continuously committed bad acts or engaged in ceaseless criminal

conduct. United States v. Damti, 109 Fed. Appx. 454, 455-56 (2nd Cir. 2004) (citations omitted).

Ceaseless conduct occurs when it is alleged that all the defendant’s actions were illegal. Id. When

that is not alleged and the prosecution can point to specific criminal acts, then evidence of good

acts is not probative of the issue of guilt at trial. Id. Using specific instances of good acts “to

prove lack of intent . . . is not only disfavored, it is not permitted under Rule 405(b).” United

States v. Marrero, 904 F.2d 251, 259–60 (5th Cir. 1990) (affirming decision to exclude evidence

that the defendant “provided more services to some clients than they were actually billed for and

that sometimes she rendered services free of charge,” which the defendant sought to introduce to

show that she did not intend to improperly bill a government agency for medical services).

       Even if probative, however, introducing evidence about the defendant’s irrelevant

conduct risks confusing the issues by inviting the jury or Court to weigh the defendant’s

culpability relative to other rioters, and ought to be excluded. See United States v. King, 254 F.3d

1098, 1100 (D.C. Cir. 2001) (“Evidence that is admissible under Rule 404 may nonetheless be

excluded under Rule 403 ‘if its probative value is substantially outweighed by the danger of unfair

prejudice, confusion of the issues, or misleading the jury.’”). Any alleged specific good acts by




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the defendant are not connected to the issues of this case. Introducing evidence of such acts

carries an unnecessary risk of distracting the jury by allowing it to decide based, not on whether

the evidence showed that the defendant committed the charged crimes, but instead on whether

the defendant performed unrelated good deeds.

III.   CONCLUSION

       For the reasons described above, the United States respectfully requests that this Court

grant the government’s omnibus motion in limine in its entirety. If this Court determines an

evidentiary hearing is necessary to rule on any aspect of this motion, the government asks that such

a hearing be held in camera and, if appropriate, ex parte.



                                                             Respectfully submitted,

 DATED: May 19, 2023                                         MATTHEW M. GRAVES
                                                             United States Attorney
                                                             D.C. Bar No. 481052

                                                      By:    /s/ Michael M. Gordon____
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
        v.                                       :       Case No. 1:21-cr-105 (JMC)
                                                 :
 HENRY MUNTZER                                   :
                                                 :
        Defendant.                               :

ORDER

       This matter having come before the Court pursuant to the Government’s motion seeking to

preclude certain defense arguments, filed on May 19, 2023, is hereby:

       ORDERED that the Government’s Motion is GRANTED. Specifically, the defendant is

precluded from introducing evidence or making arguments:

       (1) That his conduct was authorized by former President Trump or other officers or
           officials;

       (2) That any inaction by law enforcement made his conduct legal;

       (3) That the First Amendment permitted his conduct;

       (4) Encouraging jury nullification;

       (5) That he defended himself or others on January 6, 2021; and

       (6) On his prior good acts, or culpability relative to other actors on January 6, 2021.




                                                      The Honorable Jia M. Cobb
